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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JONES LANG LASALLE BROKERAGE, INC.,
                                       Plaintiff,                 Index No.: 23-cv-10738

                         - against -                              COMPLAINT

NITYO INFOTECH CORPORATION,
                                       Defendant.



       Plaintiff Jones Lang LaSalle Brokerage, Inc. (“JLL”) alleges, by and through its

undersigned attorneys, Fried, Frank, Harris, Shriver & Jacobson LLP, upon knowledge as to itself

and its own actions, and upon information and belief as to all other matters, as follows:

                                   NATURE OF THE CASE

       1.       This case arises out of the refusal by defendant Nityo Infotech Corporation

(“Nityo”) to pay amounts that are contractually owed to JLL pursuant to a Services Agreement

between JLL and Nityo dated July 21, 2022 (the “Services Agreement”). A complete and accurate

copy of the Services Agreement is attached hereto as Exhibit 1.

       2.       In the Services Agreement, Nityo granted JLL exclusive right to arrange for a

sublease, assignment, or early termination of Nityo’s sublease of numerous floors in the building

located at 1675 Broadway, New York, New York.

       3.       However, after entering into a sublease for a portion of Nityo’s leased space, and

agreeing to an early termination with respect to the majority of the remaining space, Nityo is

refusing to pay JLL the commissions provided for in the Services Agreement.

       4.       As such, JLL has been forced to bring this action seeking the amounts that are

indisputably due under the Services Agreement.
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                                 JURISDICTION AND VENUE

       5.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, as there

is complete diversity of citizenship between the parties, and the amount in controversy exceeds the

sum or value of $75,000.00.

       6.       Venue is proper in this district pursuant to 28 U.S.C. § 1391, as many of the acts,

transactions, occurrences and omissions alleged herein occurred in this district. Moreover, the

property subject to the Services Agreement is located within this district; the parties conduct

business in this district, including but not limited to in connection with the events described herein;

and the Services Agreement is governed by the laws of New York State.

                                             PARTIES

       7.       Plaintiff JLL is a corporation organized and operated under the laws of Texas with

its principal place of business at 200 East Randolph Drive, Chicago, Illinois 60601. JLL is licensed

to do business in New York State.

       8.       Nityo is a corporation organized and operated under the laws of Delaware with its

principal place of business at 666 Plainsboro Road, Plainsboro, New Jersey 08536.

                                               FACTS

Nityo Enters into an Exclusive Agency Agreement with JLL for its Subleased Space

       9.       On or about March 4, 2022, Nityo entered into a sublease (the “Sublease”) with

non-party MMS USA Holdings, Inc. (“MMS”), a subsidiary of Publicis Groupe S.A. (“Publicis”),

pursuant to which Nityo subleased floors 2 through 8, 11 through 14, 16, and 24 through 30

(collectively, the “Subleased Premises”) in the building located at 1675 Broadway, New York,

New York.

       10.      Pursuant to the Sublease, Nityo was obligated to pay fixed rent to its landlord,

MMS, for the Subleased Premises through June 2031.

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        11.      In or about July of 2022, Nityo sought assistance from JLL, one of the world’s

largest real estate brokerage firms, in limiting Nityo’s future financial obligations under the

Sublease.

        12.      To that end, on or about July 24, 2022, Nityo and JLL entered into the Services

Agreement pursuant to which Nityo engaged JLL “as its exclusive agent” with the “the exclusive

right” to:

                 (a) sublease [Nityo]’s leased premises consisting of 488,000 square
                 feet located on the entire 2-8, 11-14 and 24-29th floors plus a portion
                 of the 16th floor of the building located at 1675 Broadway, New
                 York, New York (the “Premises”), (b) arrange for an assignment of
                 all or a portion of [Nityo]’s obligations under its lease for the
                 Premises . . . , or (c) arrange for an agreement between landlord and
                 [Nityo] whereby [Nityo] is relieved of all or a portion of its
                 obligations under the Lease (collectively, the “Services”).

Exhibit 1 § 1.1.

        13.      The Services Agreement required that Nityo “refer all inquiries to JLL” and

“conduct all negotiations through JLL.” Exhibit 1 § 1.2.

        14.      Pursuant to Section 2 of the Services Agreement, JLL was entitled to a commission

if Nityo’s obligations under the Sublease were terminated or limited in any way. Specifically, the

Services Agreement provided that:

                 [i]n the event and each time, whether or not through the efforts of
                 JLL: (a) [Nityo] and a subtenant execute a sublease for some or all
                 of the Premises, (b) an assignee assumes all or part of [Nityo]’s
                 obligations under the [Sublease], or (c) [Nityo] and its landlord enter
                 into an agreement whereby [Nityo] is relieved of all or a portion of
                 its remaining obligation under the [Sublease], [Nityo] agrees to pay
                 JLL a commission . . . .

Exhibit 1 § 2.




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           15.    Exhibit A to the Services Agreement is a commission schedule specifying the

compensation that Nityo is required to pay JLL for its services (the “Commission Schedule”).

Exhibit 1 at 4.

           16.    The Commission Schedule sets forth the following “Standard Market Leasing

Commission Rates”:

                        5.0% of the Base Rent: 1st year of the term or any fraction thereof.

                        4.0% of the Base Rent: 2nd year of the term or any fraction thereof.

                        3.5% of the Base Rent: 3rd year up to and including the 5th year of
                         the term.

                        2.5% of the Base Rent: 6th year up to and including the 10th year of
                         the term.

                        2.0% of the Base Rent: 11th year up to and including the 20th year
                         of the term.

Id.

           17.    The Commission Schedule also provides that, in the event of an early termination

of the Sublease, JLL is due “[a] commission equal to 7.5% of the savings that [Nityo] realizes due

to the termination.” Id.

           18.    Pursuant to Section 8 of the Services Agreement, delinquent payments accrue

interest “at the rate of one and one-half percent (1-1/2%) per month from the date due until paid.”

Id. § 8.

           19.    The Services Agreement was to remain in full force and effect for 365 days (i.e.,

through July 21, 2023). Id. § 4. However, on or about July 26, 2023, Nityo and JLL entered into

the First Amendment to Services Agreement (the “Amendment”), which was effective as of

July 21, 2023, extending the term of the Services Agreement through July 22, 2024. A complete

and accurate copy of the Amendment is attached hereto as Exhibit 2.


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JLL Secures a Sublease for Part of Nityo’s Subleased Space

        20.     From and after the execution of the Services Agreement, JLL performed the

services required thereunder, dedicating time and resources to marketing the Premises and

engaging with potential subtenants and assignees on behalf of Nityo.

        21.     One such prospect, ELH MGMT, LLC (“ELH”), agreed to sublease part of the 29th

floor of the Premises. JLL was involved in the negotiations, along with ELH’s broker, non-party

CBRE, Inc. (“CBRE”).

        22.     On or about June 26, 2023, Nityo entered into a sublease with ELH with respect to

part of the 29th floor of the Premises (the “ELH Sublease”).

        23.     Thereafter, Nityo received a security deposit in connection with the ELH Sublease,

as well as all consents necessary for the ELH Sublease.

        24.     As set forth on the Commission Schedule to the Services Agreement, because the

transaction involved a cooperating broker (CBRE), JLL was entitled to an “[o]verride equal to

50% of the commission calculated in accordance with the Standard Market Leasing Rates,

below . . . .” Exhibit 1 at 4.

        25.     Based on the base rent provided in the ELH Sublease, 50% of the commission

calculated in accordance with the Standard Market Leasing Rates is $50,663.84.

        26.     Accordingly, pursuant to Section 2 of the Services Agreement and the Commission

Schedule, Nityo was obligated to pay JLL a commission in connection with the ELH Sublease in

the amount of $50,663.84.

Nityo Negotiates an Early Termination of its Sublease with MMS in Violation of the
Services Agreement

        27.     While working towards successful execution of the ELH Sublease, JLL continued

to market and engage potentially interested parties in connection with the remaining portion of the


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Premises, with respect to which Nityo maintained significant lease payment obligations. As a

result of JLL’s efforts, JLL received multiple offers on Nityo’s remaining subleased space.

       28.      However, while JLL was undertaking these efforts, unbeknownst to JLL, Nityo

circumvented JLL and directly negotiated with Publicis/MMS concerning an early termination of

the Sublease.

       29.      Nityo’s actions violated the requirement that Nityo “refer all inquiries” to JLL and

“conduct all negotiations through JLL,” as well as JLL’s “exclusive right” under the Services

Agreement “to arrange for an agreement between landlord and [Nityo] whereby [Nityo] is relieved

of all or a portion of its obligations under the Lease.” Exhibit 1 §§ 1.1, 1.2.

       30.      On or about July 31, 2023, days after the Services Agreement was extended for one

year, Nityo informed JLL (in writing) that: “Publicis/MMS Holdings has partially terminated the

1675 Broadway lease. Effective from August 01, 2023, only the Floors 4, 5 and 6 shall be under

Nityo and all other floors stands released from Nityo through this termination of the lease by the

sub-landlord.” A copy of the email from Nityo to JLL is attached hereto as Exhibit 3.

       31.      Thus, according to Nityo, as of July 31, 2023, Publicis/MMS and Nityo had entered

into an agreement to terminate the Sublease with respect to all of floors 2, 3, 7, 8, 11, 12, 13, 14,

16, 24, 25, 26, 27, and 28, and with respect to part of floor 29 (the “Early Termination

Agreement”).

       32.      Upon learning of the Early Termination Agreement, JLL indicated that it would be

billing Nityo for its fee under the Services Agreement.

       33.      Specifically, because the Early Termination Agreement relieved Nityo of its

obligation to pay rent with respect to 381,968 rentable square feet of space it had previously




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subleased for the remainder of the Sublease term, JLL was entitled to “[a] commission equal to

7.5% of the savings that [Nityo] realizes due to the termination.” Exhibit 1 § 2, id. at 4.

       34.     The total savings realized by Nityo as result of the Early Termination Agreement

is $99,231,825.00.    Accordingly, pursuant to the Services Agreement and the Commission

Schedule, JLL is owed $7,442,382.00 in connection with the Early Termination Agreement.

       35.     On August 1, 2023, Nityo requested that JLL send Nityo the calculation of the 7.5%

fee owed under the Services Agreement.

Nityo Terminates the Services Agreement in a Calculated Effort to Deprive JLL of its
Contractually Mandated Commission

       36.     Per Nityo’s request, on August 2, 2023, JLL sent Nityo a preliminary calculation

of its over $7 million fee for the early termination of the Sublease. At that time, JLL understood

that, while agreed upon, the Early Termination Agreement between Nityo and MMS/Publicis was

in the process of being memorialized in a written agreement.

       37.     However, on August 17, 2023 -- less than one month after Nityo had extended the

Services Agreement for another year, and less than two weeks after JLL informed Nityo that it was

owed over $7 million based on the Early Termination Agreement -- Nityo sent JLL a notice

terminating the Services Agreement effective September 16, 2023.

       38.     Additionally, Nityo purposefully delayed formal execution of a written Early

Termination Agreement until after the Services Agreement terminated.

       39.     Nityo’s termination of the Services Agreement and purposeful delay in executing

the Early Termination Agreement were part of an effort to avoid paying JLL the commission fee

it is owed and deprive JLL of the fruits of the Services Agreement.




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The Commissions Owed to JLL Pursuant to the Services Agreement

       40.      On October 2, 2023, JLL sent Nityo an invoice for (a) $50,663.84 in connection

with the executed ELH Sublease, and (b) $7,442,382.00 representing 7.5% of the calculated

savings realized as result of the Early Termination Agreement.

       41.      Nityo has refused to pay JLL the foregoing commissions.

                                      CAUSES OF ACTION

                                 FIRST CAUSE OF ACTION
                        (Breach of Services Agreement - ELH Sublease)

       42.      JLL repeats and realleges the allegations in paragraphs 1 through 41 as if fully set

forth herein.

       43.      The Services Agreement is a valid and binding contract between JLL and Nityo.

       44.      JLL performed all of its obligations under the Services Agreement.

       45.      On or about June 26, 2023, Nityo entered into the ELH Sublease.

       46.      Pursuant to the Services Agreement, JLL is due a commission in the amount of

$50,663.84 as a result of the ELH Sublease.

       47.      Nityo has refused to pay $50,663.84 to JLL based on the ELH Sublease.

       48.      Nityo’s conduct constitutes a breach of the express terms of the Services

Agreement.

       49.      As a result of Nityo’s breach, JLL has been damaged in an amount to be determined

at trial, but not less than $50,663.84, plus interest at the contractual rate of 1.5% per month from

and after the date that the obligation accrued.

       50.      Additionally, pursuant to Section 8 of the Services Agreement, JLL is entitled to

reimbursement of all reasonable expenses and attorneys’ fees in connection with this action in an

amount to be determined.


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                                SECOND CAUSE OF ACTION
                (Breach of Services Agreement - Early Termination Agreement)

        51.     JLL repeats and realleges the allegations in paragraphs 1 through 50 as if fully set

forth herein.

        52.     The Services Agreement is a valid and binding contract between JLL and Nityo.

        53.     JLL performed all of its obligations under the Services Agreement.

        54.     Nityo breached the express terms of the Services Agreement as well as the implied

covenant of good faith and fair dealing therein by, among other things, (i) negotiating directly with

Publicis/MMS concerning the Early Termination Agreement, (ii) terminating the Services

Agreement to avoid paying JLL a commission in connection with the Early Termination

Agreement, and (iii) failing to pay JLL’s commission in connection with the Early Termination

Agreement.

        55.     As a result of Nityo’s breaches, JLL has been damaged in an amount to be

determined at trial, but not less than $7,442,382.00, plus interest at the contractual rate of 1.5%

per month from and after the date that the obligation accrued.

        56.     Additionally, pursuant to Section 8 of the Services Agreement, JLL is entitled to

reimbursement of all reasonable expenses and attorneys’ fees in connection with this action in an

amount to be determined.

                                     PRAYER FOR RELIEF

        WHEREFORE, plaintiff JLL prays that a judgment be entered against defendant Nityo as

follows:

        A.      On the First Cause of Action, awarding compensatory damages in an amount to be

determined at trial, but not less than $50,663.84;




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          B.    On the Second Cause of Action, awarding compensatory damages in an amount to

be determined at trial, but not less than $7,442,382.00;

          C.    On the First and Second Causes of Action, awarding JLL its reasonable expenses

and attorneys’ fees and disbursements pursuant to Section 8 of the Services Agreement in an amount

to be determined at trial;

          D.    On the First and Second Causes of Action, awarding JLL pre- and post- judgment

interest at the contractual rate of 1.5% per month and/or at the interest rate allowable by law; and

          E.    Such other and further relief as this Court deems just and proper.



 Dated:    New York, New York
           December 8, 2023
                                                      FRIED, FRANK, HARRIS, SHRIVER
                                                       & JACOBSON LLP

                                                      By:
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